Case 1:20-cr-00361-ELH Document 67-5 Filed Pag Eon of.3

D/O
Te Moot feel pp
eee. L Sterrnact, Untea. a i Cuntheuae

Doar, Lellan bev:
hunts ty « prays be tnpo hn Cornet

AnD mre,

4 deecereel the abeck are UReedecl tn apn wed Ynrdones

at)
Soo ome He. Yerarsmad
Case 1:20-cr-00361-ELH Document 67-5 Filed 11/05/21 Page 2of3

Hew prcealty pancahia~the heat!
Yc garellin anc meithe, be . Gore onty wmobed. methe toborg
Ghia Ltt abn aac Aa a

4, ty)

Par dhiopore

reat - 7 EZ pheree ehype, Laks, cars
Pron Alden dumb
RG GED
oO
—
oO
oO
@
o)
©
ou
a
N
men
LO
©
ae,
a
|
oO
&
iL
we
Mm
©
Ww
ce
®
a
ae!
oO
oO
a
x
se
a
a
©
oO
©
oO

20-cr

Case 1

 
